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               IT IS ORDERED as set forth below:




               Date: March 31, 2020


   ___________________________________________________________________________




                                      IN THE UNITED STATES BANKRUPTCY COURT


                                                      FOR THE


                                         SOUTHERN    DISTRICT OF GEORGIA
                                               Augusta Division

                    IN   RE:                                              Chapter 7 Case
                                                                          Number 14-12297
                    SCIENCE FITNESS, LLC,

                                Debtor




                    EVANS PLAZA PARTNERS, LLC,                            Adversary Proceeding
                                                                          Number 16-01035
                                Plaintiff


                    V.



                    EVANS FITNESS CLUB EXPRESS, LLC


                                Defendant



                                                   ORDER AND   JUDGMENT


                    After holding a trial on damages, the Court entered the Order and
                    Opinion in Evans Plaza Partners, LLC v. Evans Fitness Club Express,
                    LLC, Adversary No. 16-0135 (Bankr. S.D. Ga. 2016), awarding
                    Defendant 41 mirrors at the price of $70.00/mirror for a total



   AO 72A

(Rev. 8/82)
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                   amount of $2,870.00.

                   IT IS THEREFORE ORDERED THAT:


                   Judgment in the sum of Two Thousand        Eight Hundred and Seventy and
                   00/100 ($2,870.00) Dollars together         with.interest at the rate of
                   0.17% per annum until paid in full          in favor of Defendant, Evans
                   Fitness Club Express, LLC be entered       against Plaintiff, Evans Plaza
                   Partners, LLC.



                                                [END OF DOCUMENT]




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(Rev. 8/82)
